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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )               CASE NO. 1:09cr00278-004
                                              )
       Plaintiff,                             )               JUDGE: JAMES S. GWIN
                                              )
vs.                                           )               ORDER
                                              )
AMANDA J. LORINCE,                            )
                                              )
       Defendant.                             )



       This matter was heard on October 16, 2012, upon the request of the United States Pretrial

and Probation Office for a finding that defendant had violated the conditions of her supervised

release. The defendant was present and represented by Attorney Edward Bryan. The original

violation report was referred to Magistrate Judge Kenneth S. McHargh who issued a Report and

Recommendation on September 27, 2012. No objections were filed by either plaintiff or

defendant and the Court adopted the Report and Recommendation and found that the following

terms of supervision had been violated:

               1) unauthorized drug use;

               2) failure to participate in drug and mental health counseling;

               3) change of address without notification;

               4) failure to follow instructions of the probation officer.

       The Court found the most serious violation to be a Grade C, defendant’s Criminal History

to be a Category 1 and sentenced defendant to the Bureau of Prisons for a term of 5 months with
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credit for time served. Upon release from incarceration defendant’s period of supervised release

shall terminate. Finally, the Court recommended, upon request of defense counsel, that the

Bureau of Prisons designate a facility as close as possible in the Northern District of Ohio -

perhaps the Bedford Heights jail - at which defendant would serve her term of imprisonment.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: October 16, 2012                               s/ James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE
